          Case 2:22-bk-13772-SK      Doc 17 Filed 08/19/22 Entered 08/19/22 16:07:09     Desc
                                      Main Document Page 1 of 1
 KATHY A. DOCKERY
 CHAPTER 13 TRUSTEE
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 PHONE: (213) 996-4400
 FAX: (213) 996-4426                UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                          LOS ANGELES DIVISION


                          NOTICE OF RESCHEDULED HEARING
 IN RE:                                         CHAPTER 13

    Jose Antonio Hernandez                      CASE NO.: LA22-13772-SK


                                                NOTICE OF RESCHEDULED TIME FOR CONFIRMATION
                                                HEARING

                                                DATE:       October 13, 2022
                              DEBTOR(S)         TIME        10:00 am
                                                PLACE:      Roybal Building
                                                            Courtroom 1575 15th Floor
                                                            255 East Temple Street
                                                            Los Angeles, CA 90012


PLEASE TAKE NOTICE THAT the previously scheduled CONFIRMATION HEARING will now

occur at the time and place listed above.

Dated: 8/19/22




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                                            Kathy A. Dockery
                                            Chapter 13 Trustee
